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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

American Federation of State,
County and Municipal Employees,
Council 25, as an organization, and                      Case#
representative of its members,                           Hon. Judge
Catherine Phillips, and
Charles Williams                                     EXPIDITED CONSIDERATION
                                                     REQUESTED

      Plaintiffs,

V

Terri Lynn Land,
Michigan Secretary of State,
and Christopher M. Thomas, Director of
Bureau of Elections, in their official capacities,

     Defendants.
______________________________________________________________________/

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_____________________________________________________________________/

             PLAINTIFFS’ EX PARTE MOTION
             FOR DECLARATORY JUDGMENT,
    PRELIMINARY INJUNCTION, PERMANENT INJUNCTION,
            AND EXPEDITED CONSIDERATION




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      NOW COME the Plaintiffs, by and through their attorneys, and for their Motion in

accordance with FRCP 56, 57, & 65 state as follows:

   1. This action arises under Voting Right Acts 42 U.S.C. § 1971, as amended, and

      42 USCS § 1973 as amended, the First, Fifth, Fourteenth and Fifteenth

      Amendments to the Constitution of the United States.

   2. It seeks a declaratory judgment that the Defendants’ interpretation and

      application of its interpretation of MCL 168.744 is in violation of MCL 168.744, 42

      U.S.C. § 1971, as amended, 42 U.S.C. § 1973 as amended, the First, Fifth,

      Fourteenth and Fifteenth Amendments; and preliminary and permanent

      injunctions against the application and enforcement of Defendants’ interpretation

      of the Act.

   3. Jurisdiction is conferred on this Court by Title 28 USCS §§ 1343(3) and (4), 2201

      and 2202, and by U.S.C. §§ 1971 (d) and 1973 (j)(f); and Title 42 USCS 1983.

   4. Private litigants may enforce their rights under 42 U.S.C. § 1971 and 42 USCS §

      1973 by bringing a suit under 42 U.S.C. § 1983.

   5. 42 U.S.C. § 1983 authorizes suits for the deprivation of a right secured by the

      Constitution or the laws of United States caused by a person acting under the

      color of state law.

   6. Plaintiffs requests expedited consideration of their Motion.

   7. The November 4, 2008 election is less than 30 days away.

   8. Without expedited consideration, Plaintiffs and other Michigan residents may

      suffer irreparable injury by having their right to vote abridged and/or denied.




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  9. Plaintiff AFSCME Council 25 is a labor union located within the State of

     Michigan, with over 65,000 members throughout the State of Michigan.

  10. The majority of Plaintiff’s members are qualified electors throughout the State of

     Michigan.

  11. Many of Plaintiff’s members are ethnic minorities, including, but not limited to

     African American, and Hispanic.

  12. Plaintiff, AFSCME Council 25 members have obtained buttons and shirts

     evidencing support for various issues and candidates, some of which will appear

     on the November 4, 2008 ballot.

  13. It is the intent of the members of Plaintiff, AFSCME Council 25 to wear the

     buttons and shirts, at the voting polls, while in line waiting to vote, and while

     voting.

  14. Plaintiff Catherine Phillips is an African American, resident of Wayne County

     Michigan, registered voter, and member of AFSCME Council 25.

  15. Plaintiff Charles Williams is an African American, resident of Wayne County

     Michigan, registered voter, and member of AFSCME Council 25.

  16. Both Plaintiffs Phillips and Williams intend to wear buttons and shirts that will

     evidence their support of particular issues and/or candidates, at the voting polls,

     while in line waiting to vote, and while voting on November 4, 2008.

  17. The wearing of buttons and shirts by the Plaintiffs is constitutionally protected

     speech, involving matters of public concern.

  18. Defendant Terri Lynn Land (Land) is the duly elected Michigan Secretary of

     State.



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  19. Defendant Land is sued in her official capacity as Secretary of State of the State

     of Michigan.

  20. Defendant Land’s official residence is the Treasury Building, 1st Floor, 430 West

     Allegan, Lansing, MI 48918.

  21. In her capacity as Secretary of State, Defendant Land is the chief election officer

     of the state and has supervisory control over local election officials.

  22. In accordance with MCL 168.31, the Michigan Secretary of State is charged with

     election duties inclusive of but not limited to:


           (a) Issue instructions and promulgate rules for the conduct of
           elections and registrations in accordance with the laws of this
           state.

           (b) Advise and direct local election officials as to the proper
           methods of conducting elections.

           (c) Publish and furnish for the use in each election precinct
           before each state primary and election a manual of instructions
           that includes specific instructions on assisting voters in casting
           their ballots, directions on the location of voting stations in
           polling places, procedures and forms for processing
           challenges, and procedures on prohibiting campaigning in the
           polling places.

           (d) Publish indexed pamphlet copies of the registration,
           primary, and election laws and furnish to the various county,
           city, township, and village clerks a sufficient number of copies
           for their own use and to enable them to include 1 copy with the
           election supplies furnished each precinct board of election
           inspectors under their respective jurisdictions.

           (e) Prescribe and require uniform forms, notices, and supplies
           the secretary of state considers advisable for use in the
           conduct of elections and registrations.

           (f) Establish a curriculum for comprehensive training and
           accreditation of all county, city, township, village, and school
           elections officials.


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           (g) Establish and require attendance by all new appointed or
           elected election officials at an initial course of instruction within
           6 months before the date of the election.

           (h) Establish a comprehensive training curriculum for all
           precinct inspectors.

  23. Defendant Christopher M. Thomas (Thomas) is the Director of the Bureau of

     Elections.

  24. Defendant Thomas is sued in his official capacity as Director of Elections for the

     State of Michigan.

  25. Defendant Thomas’ official residence is the Treasury Building, 1st Floor, 430

     West Allegan, Lansing, MI 48918.

  26. Defendant Thomas is vested with the powers of the Secretary of State with

     respect to elections and is responsible for the supervision and administration of

     the election laws, under the supervision of the Secretary of State.

  27. The Bureau of Elections is a subdivision of the Michigan Secretary of State

     office.

  28. Specifically, concerning the Bureau of Elections, MCL 168.32 states in part:

           There is hereby continued in the office of the secretary of state
           the bureau of elections created by Act No. 65 of the Public Acts
           of 1951, under the supervision of a director of elections, to be
           appointed by the secretary of state under civil service
           regulations. The director of elections shall be vested with the
           powers and shall perform the duties of the secretary of state
           under his supervision, with respect to the supervision and
           administration of the election laws.

  29. The claims set forth in this Complaint are brought against both Land and Thomas

     (collectively referred to as Defendants) in their official capacities.




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  30. MCL 168.744, delineates the following prohibited acts concerning any election

     within the State of Michigan:


          (1) An election inspector or any other person in the polling room
          or in a compartment connected to the polling room or within
          100 feet from any entrance to the building in which the polling
          place is located shall not persuade or endeavor to persuade a
          person to vote for or against any particular candidate or party
          ticket, or for or against any ballot question that is being voted
          on at the election. A person shall not place or distribute
          stickers, other than stickers provided by the election officials
          pursuant to law, in the polling room or in a compartment
          connected to the polling room or within 100 feet from any
          entrance to the building in which the polling place is located.

          (2) A person shall not solicit donations, gifts, contributions,
          purchase of tickets, or similar demands, or request or obtain
          signatures on petitions in the polling room or in a compartment
          connected to the polling room or within 100 feet from any
          entrance to the building in which the polling place is located.

          (3) On election day, a person shall not post, display, or
          distribute in a polling place, in any hallway used by voters to
          enter or exit a polling place, or within 100 feet of an entrance to
          a building in which a polling place is located any material that
          directly or indirectly makes reference to an election, a
          candidate, or a ballot question. This subsection does not apply
          to official material that is required by law to be posted,
          displayed, or distributed in a polling place on election day.

          (4) A person who violates this section is guilty of a
          misdemeanor.



  31. Within the Michigan Department of State, Bureau of Elections, Election Inspector

     Training Coordinator Accreditation Workshop Manual, the Defendants give the

     following directions to Election Inspectors:


           Election Inspectors have the right to ask voters entering the
          polls to remove campaign buttons or cover up clothing bearing
          a campaign slogan or a candidate’s name.

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                                       ***
          If a person persists in violating any of the above restrictions,
          contact the clerk or, if necessary, local law enforcement
          authorities. See Exhibit 1.

  32. Based upon information and belief, Defendants have misinterpreted the

     prohibited acts as delineated in MCL 168.744 to prohibit the wearing of

     “campaign buttons, or clothing bearing a campaign slogan or a candidate’s

     name”.

  33. In that the Defendants give Election Inspectors the arbitrary “right to ask voters

     [at their discretion] to remove campaign buttons or cover up clothing bearing a

     campaign slogan or candidate’s name”, the possibility exist that such authority

     will be used in a arbitrary, discriminatory and/or inconsistent manner, resulting in

     an abridgement and/or denial of Plaintiffs AFSCME Council 25 members,

     Phillips, Williams, and others similarly situated of the right to vote.

  34. The directive given by the Defendants to Election Inspectors violates the

     constitutional, civil and voting rights of Plaintiffs AFSCME Council 25 members,

     Phillips, Williams, and others similarly situated in that it intimidates, threatens or

     coerces persons for urging a person to vote, and intimidates, threatens or

     coerces persons for exercising powers and/or duties under the Voting Right Acts

     as amended, and the First, Fifth, Fourteenth, and Fifteenth Amendments to the

     Constitution.

  35. The directive given by the Defendants to Election Inspectors violates the

     constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

     Williams, and others similarly situated in that it gives Election Inspectors the

     “right to [arbitrarily] ask voters entering the polls to remove campaign buttons or


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     cover up clothing bearing a campaign slogan or a candidate’s name;” and thus

     denies the Plaintiffs of the equal protection of the law.

  36. The directive given by the Defendants to Election Inspectors violates the

     constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

     Williams, and others similarly situated in that it directs Election Inspectors to

     request law enforcement assistance to enforce the deprivation of the

     constitutional, civil, and voting rights of the Plaintiffs.

  37. Based upon information and belief, the directive given to Election Inspectors by

     the Defendants is as a result of the Defendants’ misinterpretation and/or

     misapplication of MCL 168.744.

  38. Under these facts, there is an actual controversy between the parties, and a

     multiplicity of litigation will be avoided if all of these issues are determined by this

     court at one time.

  39. This court has jurisdiction to adjudicate the matters at issue and enter its

     judgment declaring the rights of all parties to this action.

  40. It is necessary for this court to adjudicate and declare the rights of the parties to

     this action to guide Plaintiffs’ future conduct and preserve their legal rights.


  WHEREFORE, Plaintiffs pray that:

     1. This Court declare that the Defendants’ interpretation and application of MCL

         168.744 as delineated in Defendants’ directive to Election Inspectors, as

         found in the Michigan Department of State, Bureau of Elections, Election

         Inspector Training Coordinator Accreditation Workshop Manual is in violation

         MCL 168.744, the Voting Right Acts (Title 42 USCS § 1971 and 42 USCS §


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         1973), the First, Fifth, Fourteenth and Fifteenth Amendments to the

         Constitution of the United States and therefore void.

      2. This Court issue preliminary and permanent injunctions enjoining Defendants,

         their agents, employees, successors and all persons in active concert and

         participation with them from enforcing, implementing or otherwise giving effect

         to the Defendants’ directive to Election Inspectors that; “Election Inspectors

         have the right to ask voters entering the polls to remove campaign buttons or

         cover up clothing bearing a campaign slogan or a candidate’s name. . . If a

         person persists in violating any of the above restrictions, contact the clerk or,

         if necessary, local law enforcement authorities”.

      3. That if the Court is not inclined to grant the requested relief on an ex parte

         preliminary basis, this Court immediately schedule this motion for hearing so

         that a permanent injunction may be obtained in accordance with the relief

         sought by the Plaintiffs.

      4. This Court grant Plaintiffs such other and further relief as to the Court may

         deem just and proper, together with cost and attorney fees.

Date: 10/15/08                                 Respectfully submitted,


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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

American Federation of State,
County and Municipal Employees,
Council 25, as an organization, and
representative of its members,                            Case#
 Catherine Phillips, and                                  Hon. Judge
Charles Williams                                     EXPIDITED CONSIDERATION
                                                     REQUESTED
      Plaintiffs,

V

 Terri Lynn Land,
Michigan Secretary of State,
and Christopher M. Thomas, Director of
Bureau of Elections, in their official capacities,

     Defendants.
______________________________________________________________________/

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_____________________________________________________________________/


            BRIEF IN SUPPORT OF PLAINTIFFS’
     EX PARTE MOTION FOR DECLARATORY JUDGMENT,
    PRELIMINARY INJUNCTION, PERMANENT INJUNCTION,
            AND EXPEDITED CONSIDERATION




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                                       I. ISSUES PRESENTED

1. Whether Defendants violate MCL 168.744 by directing Election Inspectors that they
   have the right to ask voters entering the polls to remove campaign buttons or cover up
   clothing bearing a campaign slogan or a candidate’s name; and that if a person persists
   in violating the directive, the Election Inspector should contact the clerk or, if necessary,
   local law enforcement authorities?

          Plaintiffs Answers:   Yes.

          Defendants Answer: No.

2. Whether Defendants violate Plaintiffs’ rights under 42 U.S.C. § 1971 and 42 U.S.C. §
   1973 by directing Election Inspectors that they have the right to ask voters entering the
   polls to remove campaign buttons or cover up clothing bearing a campaign slogan or a
   candidate’s name; and that if a person persists in violating the directive, the Election
   Inspector should contact the clerk or, if necessary, local law enforcement authorities?

          Plaintiffs Answers:   Yes.

          Defendants Answer: No.

3. Whether Defendants violate Plaintiffs’ rights under the U.S. Constitution and its
   amendments by directing Election Inspectors that they have the right to ask voters
   entering the polls to remove campaign buttons or cover up clothing bearing a campaign
   slogan or a candidate’s name; and that if a person persists in violating the directive, the
   Election Inspector should contact the clerk or, if necessary, local law enforcement
   authorities?

          Plaintiffs Answers:   Yes.

          Defendants Answer: No.

4. Whether Plaintiffs are entitled to injunctive relief where they have a reasonable
   likelihood of success on the merits; they will likely suffer irreparable harm if Defendant
   continues to intimidate, threaten, and coerce persons for exercising their voting rights;
   the balance of the hardships weigh in Plaintiffs’ favor; and the impact of the injunction is
   in the public interest?

          Plaintiffs Answers:   Yes.

          Defendants Answer: No.



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                                      II. JURISDICTION

         This action arises under Voting Right Acts 42 U.S.C. § 1971, as amended, and

42 USCS § 1973 as amended, the First, Fifth, Fourteenth and Fifteenth Amendments to

the Constitution of the United States.         It seeks a declaratory judgment that the

Defendants’ interpretation and application of its interpretation of MCL 168.744 is in

violation of MCL 168.744, 42 U.S.C. § 1971, as amended, 42 U.S.C. § 1973 as

amended, the First, Fifth, Fourteenth and Fifteenth Amendments; and preliminary and

permanent injunctions against the application and enforcement of Defendants’

interpretation of the Act.

       Jurisdiction is conferred on this Court by Title 28 USCS §§ 1343(3) and (4), 2201

and 2202, and by U.S.C. §§ 1971 (d) and 1973 (j)(f); and Title 42 USCS 1983. Private

litigants may enforce their rights under 42 U.S.C. § 1971 and 42 USCS § 1973 by

bringing a suit under 42 U.S.C. § 1983. See Schwier v. Cox, 340 F.3d 1284, 1294-97

(11th Cir. 2003).     42 U.S.C. § 1983 authorizes suits for the deprivation of a right

secured by the Constitution or the laws of United States caused by a person acting

under the color of state law. When a statute confers an individual right, the right is

presumptively enforceable by § 1983. See Gonzaga Univ. v. Doe, 536 U.S. 273, 284

(2002); Brooks v Nacrell 473 F.2d 955 (3rd Cir. 1973) in which the court held that a

private cause of action lies for violation of 42 U.S.C. § 1971. Specifically, § 1971(d)

states; "The district courts of the United States shall have jurisdiction of proceedings

instituted pursuant to this section and shall exercise the same without regard to whether

the party aggrieved shall have exhausted any administrative or other remedies that may

be provided by law."         Citizens are entitled to seek declaratory judgment when it is

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alleged that a state has failed to comply with provisions of the Voting Rights Act of

1965. Allen v State Bd. of Elections (1969) 393 US 544, 22 L Ed 2d 1, 89 S Ct 817.


                                         II. FACTS

   1. Plaintiff AFSCME Council 25 is a labor union located within the State of

      Michigan, with over 90,000 members throughout the State of Michigan.

   2. Members are employed by cities, states, counties, hospitals, the federal

      government and non-profit agencies, and other private employers.

   3. The majority of Plaintiff’s members are qualified electors throughout the State of

      Michigan.

   4. Many of Plaintiff’s members are ethnic minorities, including, but not limited to

      African American, and Hispanic.

   5. AFSCME Council 25 engages in a mission inclusive of, but not limited to working

      for justice in the workplace, advocating for prosperity and opportunity for all of

      America’s working families, fighting for fairness at the bargaining table, at the

      ballot box and in the halls of government.

   6. Plaintiff, AFSCME Council 25 members have obtained buttons and shirts

      evidencing concern or support for various issues and expressing admiration for

      certain candidates that will appear on the November 4, 2008 ballot. See Exhibit

      4.

   7. Based upon information and belief, it is the intent of the members of AFSCME

      Council 25 to wear the buttons and shirts, at the voting polls, while in line waiting

      to vote, and while voting.




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   8. Members of AFSCME Council 25 believe the wearing of buttons and shirts by the

      AFSCME Council 25 members is constitutionally protected speech, involving

      matters of public concern.

   9. AFSCME Council 25 is headquartered in Lansing, MI and has a regional office

      located at 600 W. Lafayette, Suite 500, Detroit, MI 48226.

   10. Plaintiff Catherine Phillips is an African American, resident of Wayne County

      Michigan, registered voter, and member of AFSCME Council 25. See Exhibit 5.

   11. Plaintiff Charles Williams is an African American, resident of Wayne County

      Michigan, registered voter, and member of AFSCME Council 25. See Exhibit 6.

   12. Both Plaintiffs Phillips and Williams intend to wear buttons and shirts that will

      evidence their support of particular issues and/or candidates, at the voting polls,

      while in line waiting to vote, and while voting on November 4, 2008.

   13. The wearing of buttons and shirts by the Plaintiffs is constitutionally protected

      speech, involving matters of public concern.

   14. Defendant Terri Lynn Land (Land) is the duly elected Michigan Secretary of

      State.

   15. Defendant Land is sued in her official capacity as Secretary of State of the State

      of Michigan.

   16. Defendant Land’s official residence is the Treasury Building, 1st Floor, 430 West

      Allegan, Lansing, MI 48918.

   17. In her capacity as Secretary of State, Defendant Land is the chief election officer

      of the state and has supervisory control over local election officials.




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   18. In accordance with MCL 168.31, the Michigan Secretary of State is charged with

      election duties inclusive of but not limited to:


           (a) Issue instructions and promulgate rules for the conduct of
           elections and registrations in accordance with the laws of this
           state.

           (b) Advise and direct local election officials as to the proper
           methods of conducting elections.

           (c) Publish and furnish for the use in each election precinct
           before each state primary and election a manual of instructions
           that includes specific instructions on assisting voters in casting
           their ballots, directions on the location of voting stations in
           polling places, procedures and forms for processing
           challenges, and procedures on prohibiting campaigning in the
           polling places.

           (d) Publish indexed pamphlet copies of the registration,
           primary, and election laws and furnish to the various county,
           city, township, and village clerks a sufficient number of copies
           for their own use and to enable them to include 1 copy with the
           election supplies furnished each precinct board of election
           inspectors under their respective jurisdictions.

           (e) Prescribe and require uniform forms, notices, and supplies
           the secretary of state considers advisable for use in the
           conduct of elections and registrations.

           (f) Establish a curriculum for comprehensive training and
           accreditation of all county, city, township, village, and school
           elections officials.

           (g) Establish and require attendance by all new appointed or
           elected election officials at an initial course of instruction within
           6 months before the date of the election.

           (h) Establish a comprehensive training curriculum for all
           precinct inspectors.

   19. Defendant Christopher M. Thomas (Thomas) is the Director of the Bureau of

      Elections.



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   20. Defendant Thomas is sued in his official capacity as Director of Elections for the

      State of Michigan.

   21. Defendant Thomas’ official residence is the Treasury Building, 1st Floor, 430

      West Allegan, Lansing, MI 48918.

   22. Defendant Thomas is vested with the powers of the Secretary of State with

      respect to elections and is responsible for the supervision and administration of

      the election laws, under the supervision of the Secretary of State.

   23. The Bureau of Elections is a subdivision of the Michigan Secretary of State

      office.

   24. Specifically, concerning the Bureau of Elections, MCL 168.32 states in part:

            There is hereby continued in the office of the secretary of state
            the bureau of elections created by Act No. 65 of the Public Acts
            of 1951, under the supervision of a director of elections, to be
            appointed by the secretary of state under civil service
            regulations. The director of elections shall be vested with the
            powers and shall perform the duties of the secretary of state
            under his supervision, with respect to the supervision and
            administration of the election laws.

   25. The claims set forth in this Complaint are brought against both Land and Thomas

      (collectively referred to as Defendants) in their official capacities.

   26. MCL 168.744, delineates the following prohibited acts concerning any election

      within the State of Michigan:


            (1) An election inspector or any other person in the polling room
            or in a compartment connected to the polling room or within
            100 feet from any entrance to the building in which the polling
            place is located shall not persuade or endeavor to persuade a
            person to vote for or against any particular candidate or party
            ticket, or for or against any ballot question that is being voted
            on at the election. A person shall not place or distribute
            stickers, other than stickers provided by the election officials


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           pursuant to law, in the polling room or in a compartment
           connected to the polling room or within 100 feet from any
           entrance to the building in which the polling place is located.

           (2) A person shall not solicit donations, gifts, contributions,
           purchase of tickets, or similar demands, or request or obtain
           signatures on petitions in the polling room or in a compartment
           connected to the polling room or within 100 feet from any
           entrance to the building in which the polling place is located.

           (3) On election day, a person shall not post, display, or
           distribute in a polling place, in any hallway used by voters to
           enter or exit a polling place, or within 100 feet of an entrance to
           a building in which a polling place is located any material that
           directly or indirectly makes reference to an election, a
           candidate, or a ballot question. This subsection does not apply
           to official material that is required by law to be posted,
           displayed, or distributed in a polling place on election day.

           (4) A person who violates this section is guilty of a
           misdemeanor.

   27. Within the Michigan Department of State, Bureau of Elections, Election Inspector

      Training Coordinator Accreditation Workshop Manual, the Defendants give the

      following directions to Election Inspectors:

            Election Inspectors have the right to ask voters entering the
           polls to remove campaign buttons or cover up clothing bearing
           a campaign slogan or a candidate’s name.
                                        ***
           If a person persists in violating any of the above restrictions,
           contact the clerk or, if necessary, local law enforcement
           authorities. See Exhibit 1.

   28. Based upon information and belief, Defendants have misinterpreted the

      prohibited acts as delineated in MCL 168.744 to prohibit the wearing of

      “campaign buttons, or clothing bearing a campaign slogan or a candidate’s

      name”.

   29. In that the Defendants give Election Inspectors the arbitrary “right to ask voters

      [at their discretion] to remove campaign buttons or cover up clothing bearing a

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      campaign slogan or candidate’s name”, the possibility exist that such authority

      will be used in a arbitrary, discriminatory and/or inconsistent manner, resulting in

      an abridgement and/or denial of Plaintiffs AFSCME Council 25, Phillips, Williams,

      and others similarly situated of the right to vote.

   30. The directive given by the Defendants to Election Inspectors violates the

      constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

      Williams, and others similarly situated in that it intimidates, threatens or coerces

      persons for urging a person to vote, and intimidates, threatens or coerces

      persons for exercising powers and/or duties under the Voting Right Acts as

      amended, and the First, Fifth, Fourteenth, and Fifteenth Amendments to the

      Constitution.

   31. The directive given by the Defendants to Election Inspectors violates the

      constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

      Williams, and others similarly situated in that it gives Election Inspectors the

      “right to [arbitrarily] ask voters entering the polls to remove campaign buttons or

      cover up clothing bearing a campaign slogan or a candidate’s name;” and thus

      denies the Plaintiffs the equal protection of the law.

   32. The directive given by the Defendants to Election Inspectors violates the

      constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

      Williams, and others similarly situated in that it directs Election Inspectors to

      request law enforcement assistance to enforce the deprivation of the

      constitutional, civil, and voting rights of the Plaintiffs.




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   33. Under these facts, there is an actual controversy between the parties, and a

      multiplicity of litigation will be avoided if all of these issues are determined by this

      court at one time.

   34. This court has jurisdiction to adjudicate the matters at issue and enter its

      judgment declaring the rights of all parties to this action.

   35. It is necessary for this court to adjudicate and declare the rights of the parties to

      this action to guide Plaintiffs’ future conduct and preserve their legal rights.

   36. Plaintiffs requests expedited consideration of their Motion.

   37. The November 4, 2008 election is less than 30 days away.

   38. Without expedited consideration, Plaintiffs and other Michigan residents may

      suffer irreparable injury by having their right to vote abridged and/or denied.


                                         III. STANDING

      An organization has standing to sue on behalf of its members when (a) its

members otherwise have standing to sue in their own right; (b) the interests it seeks to

protect are germane to the organization's purpose; and (c) neither the claim asserted

nor the relief requested requires participation of individual members in the lawsuit. See

Adland v. Russ, 307 F.3d 471, 478 (6th Cir. Ky. 2002).

      Further, a labor union has standing to bring an action on behalf of its members,

when as in the case at bar, the union can show:

             First the plaintiff must have suffered an "injury in fact" -- an
             invasion of a legally protected interest which is (a) concrete
             and particularized and (b) "actual or imminent, not
             'conjectural' or 'hypothetical,'" Second, there must be a
             causal connection between the injury and the conduct
             complained of -- the injury has to be "fairly . . . trace[able] to
             the challenged action of the defendant, and not . . . the result
             [of] the independent action of some third party not before the

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              court." Third, it must be "likely," as opposed to merely
              "speculative," that the injury will be "redressed by a favorable
              decision." See Lujan v. Defenders of Wildlife, 504 U.S. 555,
              560-561 (U.S. 1992).

       The injury in fact in the case at bar is the frustration of the union’s mission.

Havens Realty Corp. v. Coleman, 455 US 363, 379 (1992). There is a casual

connection between the injury and the conduct complained of, in that the Defendants’

interpretation and application of their interpretation of MCL 168.744 is in violation of

MCL 168.744, the voting, and constitutional rights of the Plaintiffs. Plaintiff AFSCME

Council 25 and its members will have their right to vote abridged and/or denied because

they choose to wear certain buttons or clothing. Plaintiffs AFSCME Council 25, Phillips,

and Williams have suffered and will continue to suffer the abridging or denial of the right

to vote in the November 2008 election. Based upon the argument as delineated supra, it

is likely, and not merely speculative, that the injury suffered by the Plaintiffs will be

redressed by a favorable decision.      Private plaintiffs have standing to pursue their

claims under § 2 (42 USCS § 1973) of Voting Rights Act of 1965 when they reside in an

area directly affected by the allegedly illegal voting scheme. United States v Charleston

County (2003, DC SC) 316 F Supp 2d 268, affd (2004, CA4 SC) 365 F3d 341.


                              IV. STANDARD OF REVIEW

   Summary judgment is proper when "the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that

there is no genuine issue as to any material fact and that the moving party is entitled to

a judgment as a matter of law." Fed. R. Civ. P. 56(c). In deciding a motion for summary

judgment the court must view the factual evidence and draw all reasonable inferences

in favor of the nonmoving party. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

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475 U.S. 574, 587 (1986). "[T]he party opposing the motion may not rely solely on the

pleadings and must adduce more than a mere scintilla of evidence; if the nonmoving

party fails to make a sufficient showing on an essential element of the case with respect

to which the nonmovant has the burden, the moving party is entitled to summary

judgment as a matter of law." Thompson v. Ashe, 250 F.3d 399, 405 (6th Cir. 2001).

   The primary goal of statutory interpretation is to give effect to the intent of the

Legislature. In re MCI Telecom Complaint, 460 Mich 396, 411; 596 NW2d 164 (1999).

This determination is accomplished by examining the plain language of the statute. Id. If

the statutory language is unambiguous, courts presume that the Legislature intended

the meaning plainly expressed and further judicial construction is neither permitted nor

required. DiBennedetto v. West Shore Hosp., 461 Mich 394, 402; 605 NW2d 300

(2000). Statutory language should be reasonably construed, keeping in mind the

purpose of the statute. Draprop Corp. v. Ann Arbor, 247 Mich App 410, 415; 636 NW2d

787 (2001). When statutory terms are undefined, a courts may consider dictionary

definitions to determine common usage. Popma v. Auto Club Ins. Ass’n., 446 Mich 460;

521 NW2d 831 (1994).


                                    V. ARGUMENT

   A. DEFENANTS VIOLATE MCL 168.744 BY DIRECTING ELECTION
      INSPECTORS THAT THEY HAVE THE RIGHT TO ASK VOTERS ENTERING
      THE POLLS TO REMOVE CAMPAIGN BUTTONS OR COVER UP CLOTHING
      BEARING A CAMPAIGN SLOGAN OR A CANDIDATE’S NAME; AND THAT IF
      A PERSON PERSISTS IN VIOLATING THE DIRECTIVE, THE ELECTION
      INSPECTOR SHOULD CONTACT THE CLERK OR IF NECESSARY, LOCAL
      LAW ENFORCEMENT AUTHORITIES.

   MCL 168.744, delineates the following prohibited acts concerning any election within

the State of Michigan:


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           (1) An election inspector or any other person in the polling room
           or in a compartment connected to the polling room or within
           100 feet from any entrance to the building in which the polling
           place is located shall not persuade or endeavor to persuade a
           person to vote for or against any particular candidate or party
           ticket, or for or against any ballot question that is being voted
           on at the election. A person shall not place or distribute
           stickers, other than stickers provided by the election officials
           pursuant to law, in the polling room or in a compartment
           connected to the polling room or within 100 feet from any
           entrance to the building in which the polling place is located.

           (2) A person shall not solicit donations, gifts, contributions,
           purchase of tickets, or similar demands, or request or obtain
           signatures on petitions in the polling room or in a compartment
           connected to the polling room or within 100 feet from any
           entrance to the building in which the polling place is located.

           (3) On election day, a person shall not post, display, or
           distribute in a polling place, in any hallway used by voters to
           enter or exit a polling place, or within 100 feet of an entrance to
           a building in which a polling place is located any material that
           directly or indirectly makes reference to an election, a
           candidate, or a ballot question. This subsection does not apply
           to official material that is required by law to be posted,
           displayed, or distributed in a polling place on election day.

           (4) A person who violates this section is guilty of a
           misdemeanor.

      Based upon information and belief, Defendants have misinterpreted the

   prohibited acts, as delineated in MCL 168.744, to prohibit the wearing of “campaign

   buttons, or clothing bearing a campaign slogan or a candidate’s name”. Within the

   Michigan Department of State, Bureau of Elections, Election Inspector Training

   Coordinator Accreditation Workshop Manual, the Defendants give the following

   directions to Election Inspectors:

            Election Inspectors have the right to ask voters entering the
           polls to remove campaign buttons or cover up clothing bearing
           a campaign slogan or a candidate’s name.
                                       ***


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             If a person persists in violating any of the above restrictions,
             contact the clerk or, if necessary, local law enforcement
             authorities. See Exhibit 1.

       The directions given to the Election Inspectors is in violation of MCL 168.744 and

breaches a duty owed to Plaintiffs to only prohibit the “persuading or endeavoring to

persuade” a person to vote for or against a particular candidate or party ticket, or for or

against a ballot question.      MCL 168.744 does not prohibit the mere wearing of

campaign buttons or clothing bearing a campaign slogan or a candidate’s name. In

fact, no where within the statute are buttons or clothing mentioned. The simple wearing

of campaign buttons or clothing bearing a campaign slogan or a candidate’s name does

not constitute “persuading or endeavoring to persuade” a person to vote for or against a

particular candidate or party ticket, or for or against a ballot question.

       Defendants have misinterpreted MCL 168.744 in that their directive conflicts with

the plain meaning of the statute. Furthermore, the Michigan Supreme Court has held

that agency interpretations of statutes “are not binding on courts and cannot

conflict with the plain meaning of [a] statute. While the agency's interpretation

may be helpful in ascertaining the legislative intent, courts may not abdicate to

administrative agencies the constitutional responsibility to construe statutes.

Giving uncritical deference to an administrative agency would be such an

improper abdication of duty.” SBC Mich. v. PSC (In re Complaint of Rovas), 482

Mich. 90 (Mich. 2008); See also Mich. Educ. Ass'n v. Sec'y of State, 2008 Mich. App.

LEXIS 1760 (Mich. Ct. App. Aug. 28, 2008).

   The primary goal of statutory interpretation is to give effect to the intent of the

Legislature. In re MCI Telecom Complaint, 460 Mich 396, 411; 596 NW2d 164 (1999).

This determination is accomplished by examining the plain language of the statute. Id. If

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the statutory language is unambiguous, courts presume that the Legislature intended

the meaning plainly expressed and further judicial construction is neither permitted nor

required. DiBennedetto v. West Shore Hosp., 461 Mich 394, 402; 605 NW2d 300

(2000). Statutory language should be reasonably construed, keeping in mind the

purpose of the statute. Draprop Corp. v. Ann Arbor, 247 Mich App 410, 415; 636 NW2d

787 (2001).    Concerning MCL 168.744, the first paragraph of the statute clearly

expresses the statues intent.     The clear intent of the statute is to prevent the

“persuading or endeavoring to persuade” a person to vote for or against any particular

candidate or party ticket, or for or against any ballot question.   Clearly, the simple

wearing of a button or a shirt does not constitute “persuading or endeavoring to

persuade”.

   When statutory terms are undefined, a court may consider dictionary definitions to

determine common usage. Popma v. Auto Club Ins. Ass’n., 446 Mich 460; 521 NW2d

831 (1994).    Funk & Wagnalls New Comprehensive International Dictionary of the

English Language (1971) defines persuade as meaning “to move a person to do

something by arguments, inducements, or pleas”. Additionally, endeavor is defined as

meaning “earnest exertion for an end”. Clearly, the simple wearing of a button or

shirt is not what is intended to be prohibited by MCL 168.744. Such acts do not

constitute earnest exertion by arguments, inducements, or pleas, to move a

person to do something or accomplish an end.




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B. DEFENANTS VIOLATE U.S.C. § 1971 and 42 U.S.C. § 1973 BY DIRECTING
   ELECTION INSPECTORS THAT THEY HAVE THE RIGHT TO ASK VOTERS
   ENTERING THE POLLS TO REMOVE CAMPAIGN BUTTONS OR COVER UP
   CLOTHING BEARING A CAMPAIGN SLOGAN OR A CANDIDATE’S NAME; AND
   THAT IF A PERSON PERSISTS IN VILATING THE DIRECTIVE, THE ELECTION
   INSPECTOR SHOULD CONTACT THE CLERK OR IF NECESSARY, LOCAL LAW
   ENFORCEMENT AUTHORITIES.


         The Civil Rights Act of 1957, 42 U.S.C.A. § 1971(b), provides:

             No person, whether acting under color of law or otherwise, shall
             intimidate, threaten, coerce * * * any other person for the
             purpose of interfering with the right of such other person to vote
             or to vote as he may choose.

         Section 1971 creates a cause of action in the United States for "preventive

relief" where a person has intimidated or has attempted to intimidate another in the

exercise of his right to vote1.

         Congress enacted the Voting Rights Act of 1965 for the broad remedial

purpose of "rid[ding] the country of racial discrimination in voting." South Carolina v.

Katzenbach, 383 U.S. 301, 315 (1966). The preamble to the Voting Rights Act of 1965

establishes that the central purpose of the Act is "[t]o enforce the fifteenth amendment

to the Constitution of the United States." The Fifteenth Amendment provides: "The right

of citizens of the United States to vote shall not be denied or abridged by the United

States or by any State on account of race, color, or previous condition of servitude."

U.S. Const., Amdt. 15, § 1. The Act should be interpreted in a manner that provides




1
  The affirmative defense of adequate state remedies has been specifically removed by
statute, for subsection (d) expressly states that the district court is to exercise
jurisdiction without regard to whether the aggrieved party shall have exhausted other
remedies provided by law.



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"the broadest possible scope" in combating racial discrimination2. See Allen v. State

Board of Elections, 393 U.S. 544, 567 (1969).

         Section 3 of the Voting Rights Act Amendments of 1982 provides:


            Sec. 3(a) No voting qualification or prerequisite to voting or
            standard, practice, or procedure shall be imposed or applied by
            any State or political subdivision in a manner which results in a
            denial or abridgement of the right of any citizen of the United
            States to vote on account of race or color, or in contravention of
            the guarantees set forth in section 4(f)(2), as provided in
            subsection (b).

            (b) a violation of subsection (a) is established if, based on the
            totality of circumstances, it is shown that the political processes
            leading to nomination or election in the State or political
            subdivision are not equally open to participation by members of
            a class of citizens protected by subsection (a) in that its
            members have less opportunity than other members of the
            electorate to participate in the political process and to elect
            representatives of their choice.

         The terms "vote" and "voting" were defined elsewhere in the Act to include "all

action necessary to make a vote effective in any primary, special, or general election." §

14(c)(1) of the Act, 79 Stat. 445.

         In 1982, Congress amended § 2 of the Voting Rights Act to make clear that

certain practices and procedures that result in the denial or abridgement of the right to

vote are forbidden even though the absence of proof of discriminatory intent protects

them from constitutional challenge. Under the amended statute, proof of intent is no

longer required to prove a § 2 violation. Now plaintiffs can prevail under § 2 by

demonstrating that a challenged election practice has resulted in the denial or

2
 Wayne County, Michigan ethnic population 41.8% Black, 0.4% American Indian, 2.4%
Asian, 4.7% Hispanic, and 49.8% White
http://quickfacts.census.gov/qfd/states/26/26163.html


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abridgement of the right to vote. Congress not only incorporated the results test in the

paragraph that formerly constituted the entire § 2, but also designated that paragraph as

subsection (a) and added a new subsection (b) to make clear that an application of the

results test requires an inquiry into "the totality of the circumstances."

       In the case at bar, based upon information and belief, Defendants have

misinterpreted the prohibited acts as delineated in MCL 168.744 to prohibit the wearing

of “campaign buttons, or clothing bearing a campaign slogan or a candidate’s name”.

Within the Michigan Department of State, Bureau of Elections, Election Inspector

Training Coordinator Accreditation Workshop Manual, the Defendants give the following

directions to Election Inspectors:

              Election Inspectors have the right to ask voters entering the
             polls to remove campaign buttons or cover up clothing bearing
             a campaign slogan or a candidate’s name.
                                          ***
             If a person persists in violating any of the above restrictions,
             contact the clerk or, if necessary, local law enforcement
             authorities. See Exhibit 1.

   Per the directive, Election Inspectors have the arbitrary “right to ask voters [at their

discretion] to remove campaign buttons or cover up clothing bearing a campaign slogan

or candidate’s name”. Clearly, the possibility exist that such broad authority will be used

in a arbitrary, discriminatory and/or inconsistent manner, resulting in an abridgement

and/or denial of Plaintiffs AFSCME Council 25 members, Phillips, Williams, and others

similarly situated of the right to vote. Additionally, the sworn testimony of Plaintiffs

Phillips and Williams indicates that they feel intimidated, threatened and coerced by the

directive given to the Election Inspectors. Clearly, to suggest that law enforcement will

be utilized to effectuate the Defendants arbitrarily instituted dress code on election day,

is an act of intimidation in violation of 42 U.S.C. § 1971.

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        The Court can take judicial notice of the fact that thousands of first time voters

will participate in the November 4, 2008 election. Many of those new voters, as well as

the Plaintiffs will express their enthusiasm for participation in the election process by

wearing buttons and shirts which evidence issues of concern, issues they support, and

candidates they admire. They should not have their right to vote abridged or denied

because of what they choose to wear to the polls on election day. The policy of the

Defendants as delineate above constitutes the imposition of a “qualification or

prerequisite to voting, or standard, practice, or procedure in violation” of 42 U.S.C. §

1973.

        The right to vote on an equal basis with other citizens is a fundamental right in

a free society; indeed, in any viable form of representative government. It is

preservative of all governmental rights. See Yick Wo v. Hopkins, 1886, 118 U.S. 356,

370, 6 S.Ct. 1064, 30 L.Ed. 220, 226. "The right to vote freely for the candidate of

one's choice is of the essence of a democratic society, and any restrictions on

that right strike at the heart of representative government." See Harman v.

Forssenius, 1965, 380 U.S. 528, 537, 85 S.Ct. 1177, 1183, 14 L.Ed.2d 50.

        There is no assurance that the directive given to the Election Inspectors will be

applied equally throughout the State of Michigan. Particularly inconsideration of the fact

that the directive requires each Election Inspector to subjectively observe and judge

every printed button or shirt worn to the polls to determine whether the button or shirt

has a “campaign” message. It is inevitable that such a daunting task will result in unfair,




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biased, discriminatory results3.    Unequal application of the same law to different

individuals has an especially invidious connotation. Hadnott v. Amos 394 U.S. at 364,

89 S.Ct. at 1104,22 L.Ed.2d at 341. Any abridgement of the opportunity of members of

a protected class to participate in the political process inevitably impairs their ability to

influence the outcome of an election.

         Though it is recognized that the administration of elections is generally a matter

of state concern, federal courts have properly intervened when the attack was, broadly,

upon the fairness of the official terms and procedures under which the election was

conducted. The federal courts should not be asked to count and validate ballots and

enter into the details of the administration of the election. However, “when confronted

with an officially-sponsored election procedure which, in its basic aspect, is flawed, a

federal judge need not be timid, but may and should do what common sense and justice

require”. See Griffin, 570 F.2d at 1077-78 (quoting Joint Anti-Fascist Committee v.

McGrath, 341 U.S. 123, 71 S.Ct. 624, 95 L.Ed. 817 1951) (Frankfurter, J., concurring).

         In the case at bar, the “totality of the circumstances” suggest that the

fundamental fairness of the November 4, 2008 election is in question. As described

above, an “officially-sponsored election procedure in its basic aspect is flawed”.

Fundamental fairness demands that the Plaintiffs be granted the injunctive relief they


3
 The ambiguity of MCL 168.744, and the arbitrariness of its enforcement is bolstered by
the Detroit City Clerk’s Response to the Directive given Election Inspectors. The Clerk
directed her staff that; “Detroit Voters…will be asked to remove a button or shirt
displaying materials that make reference to a candidate”. See Exhibit 2. Yet, in the
news letter which the Clerk sent to Detroit voters concerning the upcoming election, she
makes no mention of the statute, the interpretation of the statute requiring the removal
of buttons, or covering shirts, or how it will be implemented and enforced on Election
Day.


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seek in order to protect their rights, and others similarly situated. In the case of United

States v Wood 295 F.2d 77 (5th Cir. 1961), the Court stated:

               Whenever any person interferes with the right of any other
               person to vote or to vote as he may choose, he acts like a
               political termite to destroy a part of that foundation. A single
               termite or many termites may pass unnoticed, but each
               damages the foundation, and if that process is allowed to
               continue the whole structure may crumble and fall even before
               the occupants become aware of their peril. Eradication of
               political termites, or at least checking their activities, is
               necessary to prevent irreparable damage to our Government.


       C.      DEFENANTS    VIOLATE   PLAINTIFFS  RIGHTS    UNDER   THE
               CONSTITUTION BY DIRECTING ELECTION INSPECTORS THAT THEY
               HAVE THE RIGHT TO ASK VOTERS ENTERING THE POLLS TO
               REMOVE CAMPAIGN BUTTONS OR COVER UP CLOTHING BEARING
               A CAMPAIGN SLOGAN OR A CANDIDATE’S NAME; AND THAT IF A
               PERSON PERSISTS IN VIOLATING THE DIRECTIVE, THE ELECTION
               INSPECTOR SHOULD CONTACT THE CLERK OR IF NECESSARY,
               LOCAL LAW ENFORCEMENT AUTHORITIES.

       “[F]reedom of speech and of the press – which are protected by the First

Amendment from abridgment by Congress -- are among the fundamental personal

rights and "liberties" protected by the due process clauses of the Fifth and Fourteenth

Amendments from impairment by the States.” Gitlow v New York, 268 U.S. 652, 666

(U.S. 1925).

The First, Fifth and Fourteenth Amendments state that:

               Congress shall make no law respecting an establishment of
               religion, or prohibiting the free exercise thereof; or abridging
               the freedom of speech, or of the press; or the right of the
               people peaceably to assemble, and to petition the Government
               for a redress of grievances.

               USCS Const. Amend. 1

               No person shall be ….deprived of life, liberty, or property,
               without due process of law…


                                              21
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              USCS Const. Amend. 5


              All persons born or naturalized in the United States, and
              subject to the jurisdiction thereof, are citizens of the United
              States and of the State wherein they reside. No State shall
              make or enforce any law which shall abridge the privileges or
              immunities of citizens of the United States; nor shall any State
              deprive any person of life, liberty, or property, without due
              process of law; nor deny to any person within its
              jurisdiction the equal protection of the laws.

                    USCS Const. Amend. 14, § 1

       1. Defendant’s      interpretation   of    MCL   168.744    is   unconstitutionally
          overbroad.

       Defendants’ restriction on the wearing of campaign buttons or clothing bearing a

campaign slogan or a candidate’s name will result in the suppression of free speech

and abridge the right to cast a ballot. The Defendants’ interpretation and application of

MCL 168.744 is overbroad and reaches both protected and unprotected expression.

Defendant’s interpretation creates a conflict between two fundamental rights, the

exercise of free speech and the right to cast a ballot in an election free from intimidation

and fraud.

       In the case of Burson v. Freeman, 504 U.S. 191, 211 (U.S. 1992), the Supreme

Court held that a 100 foot buffer-zone surrounding polling places was constitutional.

Burson permitted states to create buffer zones for the “(1) the prevention of voter

intimidation and (2) the prevention of corruption.” However, “the Burson Court refused

to provide a bright-line rule as to how far the State could regulate speech around a poll.”

Id. at 657.

       In the case of Anderson v. Spear, 356 F.3d 651, 661 (6th Cir. Ky. 2004), the

court concluded that the 500 ft buffer zone surrounding polls in Kentucky was facially


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overbroad using the “significant impingement test” set out in Burson. Id.          The test

applies a requirement of narrow tailoring “which gives deference to a state regulation so

long as it is reasonable and does not “significantly impinge on constitutionally protected

rights.” Id.

        In Anderson, the issue before the Court was whether Kentucky’s restriction on

electioneering within 500 feet of a polling place was unconstitutionally overbroad. The

Kentucky legislature prohibited campaign activities near polling places on the date of an

election:

               "No person shall, on the day of any election . . . do any
               electioneering at the polling place or within a distance of five
               hundred (500) feet of a county clerk's office or any entrance to
               a building in which a voting machine is located. . . ." KRS§
               117.235(3).

        Appellant Anderson brought a two-pronged challenge to the statute, alleging first

that the 500-foot buffer zone was generally overbroad in violation of the First

Amendment, and second that the definition of electioneering was unconstitutionally

overbroad because it included political speech that did not expressly advocate the

election or defeat of candidates for public office.

        The 6th Circuit Court in Anderson stated that Burson requires the application of

exacting scrutiny to restrictions on political speech around polling places4.           The

Supreme Court adopted a modified "burden of proof" in cases in which exercise of a

First Amendment right threatens to interfere with the act of voting itself. Id. at 209 n. 11,

112 S.Ct. 1846. Under this modified burden, the state must demonstrate that its



4
 Burson, 504 U.S. at 198, 112 S.Ct. 1846 noting that to survive review, a statute must
be necessary to serve a compelling state interest and narrowly drawn to achieve that
end.

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response is "reasonable and does not significantly impinge on constitutionally

protected rights." Id. at 209, 112 S.Ct. 1846.

       The 6th Circuit Court in Anderson stated that in applying this standard, the Burson

Court recognized two compelling interests for buffer zones around polling places: 1) the

state's duty to protect "the right to vote freely for the candidate of one's choice," id. at

199, 112 S.Ct. 1846 (quoting Reynolds v. Sims, 377 U.S. 533, 555, 84 S.Ct. 1362, 12

L.Ed.2d 506 (1964)); and 2) the state's interest in preserving "the integrity and reliability

of the electoral process itself," id. (quoting Anderson v. Celebrezze, 460 U.S. 780, 788

n. 9, 103 S.Ct. 1564, 75 L.Ed.2d 547 (1983)). Put more succinctly, the Court recognized

the states' interest in preventing voter intimidation and election fraud. Burson, 504 U.S.

at 206, 112 S.Ct. 1846.

       Applying the Burson "significant impingement" test, the 6th Circuit Court

concluded that the 500-foot buffer zone was facially overbroad. The 6th Circuit Court

stated:

            It thus appears that Kentucky, to the extent possible,
            sought to eliminate all electioneering on election day. This
            Burson simply does not permit.. . .The Supreme Court has
            long recognized that "[m]ere legislative preferences or
            beliefs respecting matters of public convenience may well
            support regulation directed at other personal activities, but
            be insufficient to justify such as diminishes the [First
            Amendment] rights so vital to the maintenance of
            democratic institutions." Schneider v. State of New Jersey,
            Town of Irvington, 308 U.S. 147, 161, 60 S.Ct. 146, 84 L.Ed.
            155 (1939).


       The 6th Circuit also addressed Appellant Anderson’s claim that the 500-foot

barrier’s restriction on "electioneering" was overbroad, in that it captured more

constitutionally protected speech than was necessary to promote the State's interest.


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The 500-foot buffer zone prescribed by Kentucky law applies to “electioneering”, which

is defined to include:

             the displaying of signs, the distribution of campaign literature,
             cards, or handbills, the soliciting of signatures to any petition, or
             the solicitation of votes for or against any candidate or question
             on the ballot in any manner, but shall not include exit polling.
             KRS § 117.235(3).

       Counsel for the Kentucky State Board of Elections informed Mr. Anderson that

distributing instructions to voters on how to cast write-in votes "would be considered

`electioneering' and, therefore would be subject to the restrictions of KRS § 117.235”.

Mr. Anderson challenged the buffer zone as overbroad based on the content proscribed

by the definition of electioneering. Specifically, Anderson suggested that buffer zones

should be applied only to "express advocacy," and not to "issue advocacy."

       In the case of Buckley v. Valeo, 424 U.S. 1, 96 S.Ct. 612, 46 L.Ed.2d 659 (1976),

the Supreme Court defined “express advocacy”, as words such as vote for, elect,

support, cast your ballot for, Smith for Congress, vote against, defeat, and reject. Id. at

83-84, 96 S.Ct. 612; see also Buckley, 424 U.S. at 44 & n. 52, 96 S.Ct. 612. By offering

a narrowing construction, the Supreme Court interpreted the statute so as to avoid

sweeping in more protected speech than is necessary to prevent corruption.

       The 6th Circuit Court stated concerning Kentucky’s broad prohibition on

“electioneering”:

             Kentucky's statute is vague, sweeping in, inter alia, "the
             displaying of signs, the distribution of campaign literature,
             cards, or handbills. . . ." KRS 117.235(3). While this language
             could be interpreted as limited to express advocacy, the
             Kentucky State Board of Elections has chosen a broader
             — indeed an overbroad — interpretation of the statute in
             finding that instructions on how to cast an absentee ballot
             constitute electioneering. Also, the record here is devoid of


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            evidence that such a broad definition is necessary to
            achieve the State's interest in preventing corruption. . .
            Accordingly, because Kentucky's statute is vague and because
            the State has failed to provide any evidentiary support for
            regulating both express and issue advocacy, we find that this
            Court should apply a limiting construction. . . . Prophylactic
            restriction which extends to issue advocacy— that is,
            protected speech which does not directly seek to elect or
            oppose specific candidates — cannot be maintained
            unless the state demonstrates that the limitation was
            necessary to prevent intimidation and election fraud.. . . It
            would also appear that individuals would be prohibited from
            displaying signs or distributing leaflets which fall into core issue
            advocacy: that is, promoting issues rather than specific
            candidates. If "electioneering" includes Mr. Anderson's
            instructing voters on how to cast a write-in vote, does it also
            include, for example, parents urging voters to "support our
            schools"? All issue-related speech is chilled by the Board's
            interpretation of "electioneering." However, the State has
            failed to provide evidence to support a finding either that a
            regulation so broad is necessary to prevent corruption and
            voter intimidation, or that the regulation does not
            significantly impinge on the rights protected by the First
            Amendment. . . Accordingly, because the statute is
            overbroad in that it prohibits speech . . . absent a
            narrowing construction it prohibits more speech than is
            necessary to meet the State's protected interest. . . .


   As in Anderson, the Michigan statute abridges speech protected by the First

Amendment. The Michigan statute is overbroad in that it prohibits both “express

advocacy” and “issue advocacy”, as did the Kentucky statute. Defendants’ interpretation

of the Michigan statute effectively eliminates all types electioneering speech on Election

Day, as did the defendants’ interpretation of the Kentucky statue in the Anderson case.

Defendants’ interpretation of MCL 168.744 is unreasonable and “significantly impinges

on Plaintiff’s constitutionally protected rights” of exercising free speech and the right to

vote. The wearing of political paraphernalia is constitutionally protected symbolic

speech. By way of example it appears that the Michigan law would prohibit the wearing


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of buttons or shirts that simply state: “It’s Time For Change”; “End The War Now”; or “I

Favor Pro-Choice”. Such speech could be interpreted as “directly or indirectly mak[ing]

reference to an election, a candidate, or a ballot question”, and thus a violation of

Michigan law. Such a broad sweeping restraint on free speech is clearly a violation of

constitutionally protected rights.     Moreover, arbitrary, biased, and discriminatory

interpretations by Election Inspectors is inevitable.

    Furthermore, Plaintiffs’ intent in the case at bar is not to taint the election nor commit

fraud on November 4, 2008. Defendants’ interpretation of the statue in question will

clearly prevent the exercise of free speech and abridge the rights of registered voters to

cast their ballot.5 The simple wearing of a button or shirt does not constitute “express

advocacy” or the “endeavor[ing] to persuade a person to vote for or against any

particular candidate.” In order for an act to constitute “express advocacy” it must go

beyond the mere displaying of a photo or a slogan on a button or a shirt; there must be

earnest exertion by arguments, inducements, or pleas, to move a person to do

something or accomplish an end. Clearly, the Defendants’ interpretation of MCL

168.744 is overbroad, and goes beyond protecting any legitimate interest the State may

have in protecting voters.




5
  “In early September 2008, two Allegheny County elections officials sued Pennsylvania
election officials claiming that an advisory to County Boards of Election issued in early
September was "illegal." The lawsuit claims that allowing partisan messages on voters'
clothing would "affect the health and safety of voters."
http://www.aclupa.org/legal/legaldocket/passiveelectioneering.htm This lawsuit arose
after the ACLU received complaints from voters who were deprived from voting in the
April 2008 primary for wearing t-shirts endorsing candidates.




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       2. The wearing of campaign buttons, or clothing bearing a campaign
          slogan or a candidate’s name is Symbolic Speech, protected by the
          Constitution.

   The wearing of campaign buttons, or clothing bearing a campaign slogan or a

candidate’s name is a symbolic act. In Tinker v. Des Moines Indep. Cmty. Sch. Dist.,

393 U.S. 503, 505-506 (U.S. 1969), the Court held that “wearing of an armband for the

purpose of expressing certain views is the type of symbolic act that is within the Free

Speech Clause of the First Amendment”. Further the Court reasoned that the wearing of

armbands in the circumstances of this case was entirely divorced from actually or

potentially disruptive conduct by those participating in it. It was closely akin to "pure

speech" which, has been repeatedly held, entitled to comprehensive protection under

the First Amendment. Id. In Tinker, students were expelled from school when they wore

black armbands in silent protest of the Vietnam War.

   Like the case at bar, wearing armbands and campaign paraphernalia are

synonymous. Plaintiffs will be wearing paraphernalia expressing certain views symbolic

of an act within the Free Speech Clause of the First Amendment. Plaintiffs like others

similarly situated will not participate in disruptive conduct, intimidation or voter fraud

while wearing buttons and shirts expressive of their feelings, admirations, and dislikes.

Plaintiffs will silently cast votes with no intention of displaying disruptive conduct which

would lead to intimidation or fraud. Therefore, the Defendant’s have no need to ask

Plaintiff’s to remove buttons or shirts when entering polling locations and casting votes.

To follow this directive would be a violation of Plaintiffs freedom of (symbolic) speech.




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    D. PLAINTIFFS’ ARE ENTITLED TO INJUNCTIVE RELIEF WHERE THEY HAVE
       A LIKELIHOOD OF SUCCESS ON THE MERITS; THEY WILL LIKELY
       SUFFER IREPARABLE HARM IF DFENDANTS CONTINUE TO, THREATEN
       AND COERCES PERSONS FOR EXERCISING THEIR VOTING RIGHTS; THE
       BALANCE OF THE HARDSHIPS WEIGH IN PLAINTIFFS’ FAVOR, AND THE
       IMPACT OF THE INJUNCTION IS IN THE PUBLIC INTEREST.

    Under the facts as delineated herein, there is an actual controversy between the

parties, and a multiplicity of litigation will be avoided if all of these issues are determined

by this court at one time. This court has jurisdiction to adjudicate the matters at issue

and enter its judgment declaring the rights of all parties to this action. It is necessary for

this court to adjudicate and declare the rights of the parties to this action to guide

Plaintiffs’ future conduct and preserve their legal rights. Plaintiffs have requested

expedited consideration of this Motion, in that the November 4, 2008 election is less

than 30 days away. Without expedited consideration, and the issuance of a temporary

and ultimately permanent restraining order, Plaintiffs and other Michigan residents will

suffer irreparable injury by having their right to vote abridged and/or denied.

    The factors to be considered in determining whether to issue a temporary restraining

order or a preliminary injunction under FRCP 65 are:

              (1) whether the movant has a 'strong' likelihood of success
                  on the merits; (2) whether the movant would otherwise
                  suffer irreparable injury; (3) whether issuance of a
                  preliminary injunction would cause substantial harm to
                  others; and (4) whether the public interest would be
                  served by issuance of a preliminary injunction6.



6
 See Summit County Democratic Cent. & Exec. Comm. v. Blackwell, 388 F.3d 547, 550
(6th Cir. Ohio 2004); Sandison v. Michigan High School Athletic Association., Inc., 64 F.
3d 1026, 1030 (6th Cir. 1995). The Court in Sandison emphasized that the four factors
are not prerequisites that must be satisfied. These factors simply guide the discretion of
the court; they are meant not to be rigid and unbending requirements.


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   1. Plaintiffs Have a Strong Likelihood of Success on the Merits of The Claims

   The directions given to the Election Inspectors is in violation of MCL 168.744 and

breaches a duty owed to Plaintiffs to only prohibit the “persuading or endeavoring to

persuade” a person to vote for or against a particular candidate or party ticket, or for or

against a ballot question. Clearly, the simple wearing of a button or shirt is not what is

intended to be prohibited by MCL 168.744. Such acts do not constitute earnest exertion

by arguments, inducements, or pleas, to move a person to do something or accomplish

an end.

   Because Election Inspectors have the arbitrary “right to ask voters [at their

discretion] to remove campaign buttons or cover up clothing bearing a campaign slogan

or candidate’s name,” the possibility exist that such broad authority will be used in a

arbitrary, discriminatory and/or inconsistent manner, resulting in an abridgement and/or

denial of Plaintiffs AFSCME Council 25 members, Phillips, Williams, and others similarly

situated of the right to vote.

   2. Absent An Injunction the Plaintiffs Will Suffer Irreparable Harm.

       Plaintiffs will be immediately and irreparably harmed if the requested injunctive

relief is not provided. The right to vote is a fundamental right of our society. Because

Election Inspectors have the arbitrary “right to ask voters [at their discretion] to remove

campaign buttons or cover up clothing bearing a campaign slogan or candidate’s

name,” the possibility exist that such broad authority will be used in a arbitrary,

discriminatory and/or inconsistent manner, resulting in an abridgement and/or denial of

Plaintiffs AFSCME Council 25 members, Phillips, Williams, and others similarly situated

of the right to vote.



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         "The right to vote freely for the candidate of one's choice is of the essence of a

democratic society, and any restrictions on that right strike at the heart of representative

government." See Harman v. Forssenius, 1965, 380 U.S. 528, 537, 85 S.Ct. 1177,

1183, 14 L.Ed.2d 50.     It has been repeatedly recognized that all qualified voters have a

constitutionally protected right to vote, and to have their votes counted.” See Reynolds

v. Sims, 377 U.S. 533, 554-55 (1964). The violation of a citizen’s right to vote is the

quintessential injury justifying an injunction. See Touchston v. McDermott, 234 F.3d

1133 (11th Cir. 2000).

    3. The Balance of Hardships Favors Issuance of an Injunction

    As discussed infra, the harm to Plaintiffs is substantial, if the requested relief is not

granted. A number voters will be potentially disfranchised because of what they choose

to wear to the voting polls on election day. On the other hand, equitable relief will not

impose any significant costs on the Defendants, or cause the Defendants any significant

harm.

    4. The Public Interest Mandates a Grant of Injunctive Relief

    The public interest demands that every qualified resident of Michigan be allowed to

cast their vote free from intimidation, threat or coercion. Protecting an individual’s right

to vote is without question in the public interest, as is removing the undue burdens on

that right imposed by the state7. Federal courts have properly intervened when as in

the case at bar, the attack was broadly upon the fairness of the official terms and

procedures under which an election is to be conducted.

7
 Bush, 531 U.S. at 109 stating that the public interest is always served when citizens
can look with confidence at an election process that insures that all votes cast by
qualified voters are counted.


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                                     VI. RELIEF REQUESTED

   WHEREFORE, Plaintiffs pray that:

      5. This Court issue an order declaring that the Defendants’ interpretation and

         application of MCL 168.744 as delineated in Defendants’ directive to Election

         Inspectors, as found in the Michigan Department of State, Bureau of

         Elections, Election Inspector Training Coordinator Accreditation Workshop

         Manual is in violation MCL 168.744, the Voting Right Acts (Title 42 USCS §

         1971 and 42 USCS § 1973), the First, Fifth, Fourteenth and Fifteenth

         Amendments to the Constitution of the United States and therefore void.

      6. This Court issue preliminary and permanent injunctions enjoining Defendants,

         their agents, employees, successors and all persons in active concert and

         participation with them from enforcing, implementing or otherwise giving effect

         to the Defendants’ directive to Election Inspectors that; “Election Inspectors

         have the right to ask voters entering the polls to remove campaign buttons or

         cover up clothing bearing a campaign slogan or a candidate’s name. . . If a

         person persists in violating any of the above restrictions, contact the clerk or,

         if necessary, local law enforcement authorities”.

      7. That if the Court is not inclined to grant the requested relief on an ex parte

         preliminary basis, this Court immediately schedule this motion for hearing so

         that a permanent injunction may be obtained in accordance with the relief

         sought by the Plaintiffs.

      8. This Court grant Plaintiffs such other and further relief as to the Court may

         deem just and proper, together with cost and attorney fees.



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Date: 10/15/08                            Respectfully submitted,


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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

American Federation of State,
County and Municipal Employees,
Council 25, as an organization, and
representative of its members,                             Case#
Catherine Phillips, and                                    Judge:
Charles Williams                                      EXPIDITED CONSIDERATION
                                                      REQUESTED
      Plaintiffs,

V

 Terri Lynn Land,
Michigan Secretary of State,
and Christopher M. Thomas, Director of
Bureau of Elections, in their official capacities,

     Defendants.
______________________________________________________________________/

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_____________________________________________________________________/

                             CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of Plaintiffs’ Ex Parte Motion For

Declaratory Judgment, Preliminary Injunction, Permanent Injunction, And Expedited

Consideration, and Brief in Support were electronically filed on October 15, 2008



Date: 10/15/08                                  /s/_____________________________
                                                Shamecki McCoy



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